                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,               )
                                         ) Criminal No. 3:20-cr-00104
                v.                       )
                                         ) PRELIMINARY ORDER OF
 ANTONIO LASHAWN WARFIELD,               ) FORFEITURE
                                         )
                Defendant.               )

       On review of the United States’ Motion for Preliminary Order of Forfeiture,

IT IS HEREBY ORDERED THAT:

       1.     The Court’s authority in this matter is founded upon 18 U.S.C. § 924(d),

28 U.S.C. § 2461(c), and Federal Rule of Criminal Procedure 32.2.

       2.     Based on the record in this case and applicable law, Defendant’s interest

in the following property is hereby preliminarily forfeited to the United States:

      A loaded Taurus, nine-millimeter caliber, semi-automatic pistol (SN:
      TLT00754).

       3.     Upon the entry of this Order, the United States is authorized to seize

the above-listed property and to conduct any discovery proper in identifying, locating,

or disposing of the property subject to forfeiture, in accordance with Fed. R. Crim. P.

32.2(b)(3).

       4.     Upon entry of this Order, the United States is authorized to commence

any applicable proceeding to comply with statutes governing third party rights,

including giving notice of this Order.

       5.     The United States shall publish notice of the order and its intent to

dispose of the property in such a manner as the United States may direct. The United
States may also, to the extent practicable, provide written notice to any person known

to have an alleged interest in the subject property.

       6.     Any person, other than the above-named Defendant, asserting a legal

interest in the subject property may, within thirty days of the final publication of

notice or receipt of notice, whichever is earlier, petition the court for a hearing

without a jury to adjudicate the validity of his/her alleged interest in the subject

property, and for an amendment of the order of forfeiture under 21 U.S.C. § 853(n)(2).

       7.     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), the Preliminary Order of

Forfeiture shall become final as to the Defendant at the time of sentencing or at any

time before sentencing if the Defendant consents and shall be made part of the

sentence and included in the judgment. If no third-party files a timely claim, this

Order shall become the Final Order of Forfeiture, as provided by Fed. R. Crim. P.

32.2(c)(2).

       8.     Any petition filed by a third party asserting an interest in the subject

property shall be signed by the petitioner under penalty of perjury and shall set forth:

              a. the nature and extent of the petitioner’s right, title, or interest in the
                  subject property;

              b. the time and circumstances of the petitioner’s acquisition of the right,
                  title, or interest in the subject property;

              c. any additional facts supporting the petitioner’s claim; and

              d. the relief sought.

       9.     After the disposition of any motion filed under Fed. R. Crim. P.

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in


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accordance with the Federal Rules of Civil Procedure upon a showing that such

discovery is necessary or desirable to resolve factual issues.

      10.      Pursuant to 21 U.S.C. § 853(n)(7), the United States shall have clear

title to the subject property following the Court’s disposition of all third-party

interests, or, if none, following the expiration of the period provided in 21 U.S.C.

§ 853(n)(2).

      11.      The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      IT IS SO ORDERED.

      Dated this ___ day of ____________________, 2022.


                                        ____________________________________
                                        STEPHANIE M. ROSE
                                        UNITED STATES DISTRICT JUDGE




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